                                          Case 5:14-cv-02329-BLF Document 225 Filed 07/13/17 Page 1 of 1




                                   1

                                   2

                                   3                                  UNITED STATES DISTRICT COURT

                                   4                              NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7    FREE RANGE CONTENT, INC., ET AL.,                   Case No. 14-cv-02329-BLF
                                   8                    Plaintiffs,
                                                                                            ORDER RE REDACTION OF ORDER
                                   9             v.                                         GRANTING IN PART AND DENYING
                                                                                            IN PART MOTION FOR CLASS
                                  10    GOOGLE INC.,                                        CERTIFICATION
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13           The Court’s Order Granting in Part and Denying in Part Plaintiffs’ Motion for Class

                                  14   Certification has been filed under seal because it contains information that the Court previously

                                  15   allowed to be filed under seal due to its highly confidential and business-sensitive nature. The

                                  16   parties are ordered to meet and confer no later than July 21, 2017, and submit proposed redactions

                                  17   to the Court’s order (to the extent any redaction is required), as well as supporting declaration(s)

                                  18   and a proposed order. If no proposed redactions are received by July 21, 2017, the Court shall

                                  19   unseal the order in its entirety.

                                  20           IT IS SO ORDERED.

                                  21

                                  22   Dated: July 13, 2017

                                  23                                                    ______________________________________
                                                                                        BETH LABSON FREEMAN
                                  24                                                    United States District Judge
                                  25

                                  26
                                  27

                                  28
